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 8                         UNITED STATES DISTRICT COURT

 9                        EASTERN DISTRICT OF CALIFORNIA
10

11   LISA MOORE and EUGENE MOORE,          No.   2:14-cv-00656-JAM-KJN
     individually and as co-
12   successors in interest of
     decedent JEREMIAH EUGENE
13   MOORE,                                ORDER GRANTING IN PART AND
                                           DENYING IN PART DEFENDANTS’
14                 Plaintiffs,             MOTION TO DISMISS
15         v.
16   CITY OF VALLEJO, a public
     entity; CITY OF VALLEJO
17   POLICE CHIEF JOSEPH KREINS,
     in his individual and
18   official capacities; OFFICER
     SEAN KENNEY, individually;
19   and DOES 1-20, individually,
     jointly, and severally,
20
                   Defendants.
21

22         Defendants City of Vallejo (“the City”), City of Vallejo

23   Police Chief Joseph Kreins (“Chief Kreins”) and Officer Sean

24   Kenney (“Officer Kenney”) (collectively “Defendants”) move to

25   dismiss (Doc. #21) the first, second, fourth, fifth, sixth, and

26   seventh causes of action in Plaintiffs Lisa and Eugene Moore’s

27   (collectively “Plaintiffs”) First Amended Complaint (“FAC”) (Doc.

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 1   #13). 1   Defendants’ motion is granted in part and denied in part

 2   for the reasons set forth below.

 3

 4             I.   FACTUAL ALLEGATIONS AND PROCEDURAL BACKGROUND

 5         According to the FAC, on or about October 21, 2012, at

 6   approximately 1:30 a.m., Vallejo Police Department officers

 7   (collectively “the officers”), including Officer Kenney, fatally

 8   shot Decedent Jeremiah Eugene Moore (“Decedent”) at his home.

 9   Before they arrived, the officers were informed that Decedent was
10   suffering from developmental disabilities including an Autism
11   Spectrum Disorder, mental illness, and/or emotional disturbance.
12   Upon arrival, the officers found Decedent walking naked in front
13   of his home without a weapon and posing “no significant or
14   immediate threat” to the officers.        The officers commanded
15   Decedent to get on the ground, and when he did not the officers,
16   including Officer Kenney, shot Decedent multiple times.
17   Plaintiffs allege that the officers falsely reported that
18   Decedent was threatening them with a gun inside his home when the
19   officers shot him.
20         Plaintiffs filed the FAC in April 2014 on their own behalf

21   as well as co-successors in interest for their son, Decedent.

22   The seven causes of action pled in the FAC are: (1) violation of

23   42 U.S.C. § 1983 (“§1983”) against Officer Kenney and Does 1-20;

24   (2) violation of §1983 against the City, Chief Kreins, and Does

25   1-20 based on municipal and supervisory liability; (3) violation

26
     1
27     This motion was determined to be suitable for decision without
     oral argument. E.D. Cal. L.R. 230(g). The hearing was scheduled
28   for August 20, 2014.
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 1   of the Americans with Disabilities Act and the Rehabilitation Act

 2   against the City; (4) violation of California Civil Code § 52.1

 3   against Officer Kenney, the City, and Does 1-20; (5) negligence

 4   against all Defendants; (6) assault and battery against Officer

 5   Kenney, the City, and Does 1-20; and (7) violation of California

 6   Civil Code § 51.7 against Officer Kenney, the City, and Does 1-

 7   20.

 8

 9                                II.   OPINION
10         A.     Request for Judicial Notice

11         Both parties have submitted requests for judicial notice.

12   Generally, the Court may not consider material beyond the

13   pleadings in ruling on a motion to dismiss for failure to state a

14   claim.     The exceptions are material attached to, or relied on by,

15   the complaint so long as authenticity is not disputed, or matters

16   of public record, provided that they are not subject to

17   reasonable dispute.     E.g., Sherman v. Stryker Corp., 2009 WL

18   2241664 at *2 (C.D. Cal. 2009) (citing Lee v. City of Los

19   Angeles, 250 F.3d 668, 688 (9th Cir. 2001) and Fed. R. Evid.
20   201).

21         Attached to their motion to dismiss is Defendants’ request

22   for judicial notice of the Government Tort Claim filed by

23   Plaintiffs in connection with this litigation.          MTD at Exh. 1.

24   Such a document is a matter of public record and is necessarily

25   relied on by Plaintiffs in bringing their state law claims, and

26   so the Court takes judicial notice of this document.

27         In their opposition, Plaintiffs request the Court take

28   judicial notice of the following facts: (1) the City and Officer
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 1   Kenney have been named as co-defendants in nine civil rights

 2   cases; (2) between 2007 and 2012, there were thirteen fatal

 3   officer-involved shootings by Vallejo Police Department officers;

 4   and (3) the shooting of Decedent was the third fatal shooting

 5   involving Officer Kenney in a period of five months.           Opp. at pp.

 6   9-10.

 7         Defendants dispute the reliability of the facts presented by

 8   Plaintiffs in their reply, as well as object to Plaintiffs’

 9   introduction of new allegations for the first time in opposition
10   to a motion to dismiss.      The Court agrees with Defendants that
11   the methodologies used for calculating these statistics and
12   arriving at these facts are subject to reasonable dispute.           The
13   Court, therefore, denies Plaintiffs’ request for judicial notice.
14         B.     Analysis

15                1.    Section 1983 Claims Against Officer Kenney

16         Plaintiffs’ first cause of action alleges violations of

17   §1983 based on the First, Fourth, and Fourteenth Amendments to

18   the United States Constitution.       FAC ¶ 29.    Defendants contend

19   the first cause of action should be dismissed pursuant to Federal
20   Rule of Civil Procedure 12(b)(6).        MTD at pp. 6-9.    Defendants

21   argue there are insufficient factual allegations to support the

22   claims.    Defendants also contend the first cause of action should

23   be dismissed to the extent it is based on the Fourteenth

24   Amendment.    MTD at pp. 9-10.

25                      a.   Failure to State a Claim

26         Defendants argue that the allegations supporting the first

27   cause of action are “completely devoid of any factual content.”

28   MTD at p. 8.      The Court disagrees.
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 1         A careful review of the FAC demonstrates that Defendants’

 2   contention that the allegations are merely conclusory and

 3   “completely devoid” of underlying factual content is without

 4   merit.    Plaintiffs allege very clearly that Decedent was disabled

 5   and the officers knew this fact.         Yet, upon arriving at

 6   Decedent’s home at 2504 Alameda Street in the City of Vallejo on

 7   October 12, 2012, they failed to take this into account and

 8   unjustifiably shot Decedent multiple times while he was unarmed

 9   and naked, killing him.      These are sufficient allegations of
10   underlying facts, which taken as true, entitle Plaintiffs to
11   relief.   Accordingly, the Court denies Defendants’ motion to
12   dismiss this claim.
13                    b.    The First, Fourth, and Fourteenth Amendments

14         The briefs for both parties discuss the propriety of

15   bringing the claims asserted in the first cause of action under

16   the specific Amendments cited by Plaintiffs.

17         The first cause of action brings claims on behalf of

18   Decedent based on his rights to be free from (1) unreasonable

19   searches and seizures; (2) excessive and unreasonable force in
20   the course of arrest or detention; and (3) the use of unlawful

21   deadly force.    FAC ¶ 29.    The FAC alleges these rights are

22   secured by the Fourth and Fourteenth Amendments.          The FAC further

23   alleges violation of the right to be free from wrongful

24   interference with familial relationships and the right to

25   companionship, society and support as secured by the First,

26   Fourth and Fourteenth Amendments.

27         Defendants contend Plaintiffs’ reliance on the Fourteenth

28   Amendment in relation to their claims brought on behalf of
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 1   Decedent is improper.      MTD at pp. 9-10.     It is true that the

 2   Fourth Amendment is the proper constitutional basis for the §1983

 3   claims on behalf of Decedent; the reference to the Fourteenth

 4   Amendment appears to be an unnecessary reference to the

 5   incorporation doctrine.      Graham v. Connor, 490 U.S. 386, 393-94

 6   (1989); Brosseau v. Haugen, 543 U.S. 194, 197-98 (2004); see also

 7   Brockmeier v. Solano Cnty. Sheriff's Dep't, CIV-S05-2090 MCE-EFB-

 8   PS, 2006 WL 3760276, at *12 (E.D. Cal. 2006).

 9         For the first time in their reply, Defendants raise the
10   argument that the interference with familial relationship claim
11   should be dismissed as asserted under the Fourth Amendment.
12   Although untimely, the Court agrees the Fourth Amendment is an
13   improper basis for Plaintiffs’ claim regarding interference with
14   the familial relationship.      The parents of a victim of an
15   unlawful police killing have personal standing to claim
16   deprivation of familial relationship under the substantive due
17   process clause of the Fourteenth Amendment.         See Moreland v. Las
18   Vegas Metro. Police Dep't, 159 F.3d 365, 371 (9th Cir. 1998).

19   Thus, the Fourteenth Amendment, not the Fourth Amendment, allows
20   plaintiffs to bring claims for deprivation of or interference

21   with familial relationship.       Jarreau-Griffin v. City of Vallejo,

22   2:12-CV-02979-KJM, 2013 WL 6423379, at *4 (E.D. Cal. 2013).

23         Accordingly, the Court grants, without leave to amend,

24   Defendants’ motion to dismiss the first cause of action insofar

25   as it asserts a claim on behalf of Decedent for violation of his

26   rights to be free from unreasonable searches and seizures and

27   excessive or deadly force based on the Fourteenth Amendment and

28   to the extent it asserts a violation of the right to be free from
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 1   interference with familial relationships under the Fourth

 2   Amendment.    See Jarreau-Griffin, 2013 WL 6423379, at *3-4; Arres

 3   v. City of Fresno, CV F 10-1628 LJO SMS, 2011 WL 284971, at *15-

 4   16 (E.D. Cal. 2011).      Otherwise, Defendants’ motion to dismiss

 5   this claim is denied.

 6                2.   Section 1983 Claims Against the City and Chief
                       Kreins
 7

 8         Defendants next contend Plaintiffs’ second cause of action

 9   against the City for liability based on Monell v. Department of
10   Social Services of City of New York, 436 U.S. 658 (1978), should

11   be dismissed because it is “unsupported by any facts.”           MTD at p.

12   10.   Plaintiffs respond that they have alleged sufficient facts

13   to state a claim under Monell.       Opp. at pp. 15-16.

14         “The elements of a Monell claim are (1) plaintiff was

15   deprived of a constitutional right; (2) the municipality has a

16   policy; (3) the policy amounts to deliberate indifference to

17   plaintiff's constitutional right; and (4) the policy is the

18   moving force behind the constitutional violation.”          Howard v.

19   City of Vallejo, CIV. S-13-1439 LKK, 2013 WL 6070494, at *3 (E.D.
20   Cal. 2013) (citing Dougherty v. City of Covina, 654 F.3d 892, 900

21   (9th Cir. 2011)).     “A custom or practice can be inferred from

22   widespread practices or evidence of repeated constitutional

23   violations for which the errant municipal officers were not

24   discharged or reprimanded.”       Hunter v. County of Sacramento, 652

25   F.3d 1225, 1233 (9th Cir. 2011); see also Menotti v. City of

26   Seattle, 409 F.3d 1113, 1147 (9th Cir. 2005); Gillette v.

27   Delmore, 979 F.2d 1342, 1349 (9th Cir. 1992).

28   ///
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 1         The FAC alleges that before the incident underlying this

 2   action took place, policymakers at the City, including Chief

 3   Kreins, knew of instances in which Officer Kenney and other

 4   officers shot individuals who did not pose a threat, including

 5   victims who were disabled, knew the shootings were unlawful and

 6   outside the accepted law enforcement standards, and yet took no

 7   action to correct training programs or policies and procedures

 8   that allowed such shootings to take place.         FAC ¶ 35.    The FAC

 9   specifically alleges, that despite this information, the City
10   took no action to adequately investigate, supervise, discipline,
11   or train Officer Kenney or the other officers.          Id.   Furthermore,
12   the FAC alleges that the actions of the officers in this case

13   were carried out pursuant to customs and practices within the

14   Vallejo Police Department, which are listed in detail in the FAC.

15   FAC ¶ 36.    The FAC alleges these failures and customs and

16   practices “were a moving force and/or a proximate cause of the

17   deprivations of Plaintiffs’” constitutional rights.           FAC ¶ 39.

18         The Court finds such factual allegations adequately allege a

19   claim for Monell liability.       The court’s decision in IDC v. City
20   of Vallejo, 2:13-CV-1987 DAD, 2014 WL 2567185, at *1-2, 5-6 (E.D.

21   Cal. 2014) (“IDC”), is instructive in that it involved a similar

22   motion under analogous allegations.        The IDC court denied the

23   motion to dismiss brought by defendants, including the City of

24   Vallejo.    Id.   The court found that a Monell claim was

25   sufficiently pleaded based on allegations that the officers

26   involved, including Officer Kenney, had engaged in repeated acts

27   of excessive force, misconduct, and civil rights violations prior

28   to the relevant incident, and that despite knowledge of this, the
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 1   City of Vallejo allegedly failed to take measures to prevent

 2   their repeated misconduct.      Id.

 3         The Court finds the reasoning in IDC persuasive and denies

 4   Defendants’ motion to dismiss the second cause of action.            The

 5   Court also notes that Defendants do not attack the claim for

 6   supervisory liability against Chief Kreins in the second cause of

 7   action; thus, the Court does not address the claim.

 8               3.   State Law Claims

 9         Defendants contend Plaintiffs’ state law claims in the
10   fourth, fifth, sixth, and seventh causes of action should be
11   dismissed because Plaintiffs have failed to comply with
12   California Government Code § 945.4 (“§945.4”).          MTD at pp. 16-18.
13         Section 945.4 requires a potential plaintiff to file a
14   written claim with a public entity before a suit for money or
15   damages may be brought against it.        The claim must include a
16   “general description of the indebtedness, obligation, injury,
17   damage or loss incurred so far as it may be known at the time of
18   presentation of the claim.”       Cal. Gov't Code § 910.
19         Defendants direct the Court to the Government Tort Claim
20   submitted by Plaintiffs to the City.        MTD at p. 16.     They contend

21   this document describes factual circumstances consistent with a

22   wrongful death claim.      Defendants argue the state law causes of

23   action for violation of California Civil Code § 52.1, negligence,

24   assault and battery, and violation of California Civil Code §

25   51.7 are additional claims that “introduce a shift in theory from

26   the factual scenario of a ‘wrongful death claim’” as stated in

27   the Government Tort Claim submitted to the City.

28   ///
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 1          The Supreme Court of California has addressed this

 2   requirement:

 3          The purpose of these statutes is “to provide the public
 4          entity sufficient information to enable it to
            adequately investigate claims and to settle them, if
 5          appropriate, without the expense of litigation.”
            Consequently, a claim need not contain the detail and
 6          specificity required of a pleading, but need only
            “fairly describe what [the] entity is alleged to have
 7          done.” As the purpose of the claim is to give the
            government entity notice sufficient for it to
 8
            investigate and evaluate the claim, not to eliminate
 9          meritorious actions, the claims statute “should not be
            applied to snare the unwary where its purpose has been
10          satisfied.”

11   Stockett v. Ass'n of California Water Agencies Joint Powers Ins.

12   Auth., 34 Cal. 4th 441, 446 (2004) (internal citations omitted)

13   (emphasis added).

14          The Government Tort Claim submitted by Plaintiffs was on a

15   standard form created and provided by the City.          In response to

16   the form’s question, “What did City or employee(s) do to cause

17   this loss, damage, or injury?”        Plaintiffs responded “The police

18   department shot our son while he was unarmed causing his death.”

19          The Court finds Plaintiffs have “fairly described” what

20   Defendants are alleged to have done.         Stockett, 34 Cal. 4th at

21   446.    The claim submitted by Plaintiffs adequately notifies

22   Defendants of the underlying factual allegations presented in the

23   FAC.    Defendants should have been able to effectively investigate

24   the incident and should have reasonably expected possible claims

25   for violation of constitutional rights (fourth cause of action),

26   negligence (fifth cause of action), and assault and battery

27   (sixth cause of action).       Defendants’ arguments to the contrary

28   are unpersuasive and the Court denies the motion to dismiss as to
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 1   these three claims.

 2         As for the seventh cause of action for violation of

 3   Plaintiffs’ rights because of Decedent’s physical condition

 4   and/or disability, this claim is based on allegations not

 5   adequately included in the Government Tort Claim, and must be

 6   dismissed.    There is no mention of Decedent’s disability or

 7   medical condition, which serves as the basis for that claim.

 8   Since amendment would be futile, the seventh cause of action is

 9   dismissed with prejudice.
10

11                                 III.   ORDER
12         The Court GRANTS WITH PREJUDICE Defendants’ motion to
13   dismiss the first cause of action but only insofar as it asserts
14   a claim on behalf of Decedent based on the Fourteenth Amendment
15   for violation of his rights to be free from unreasonable searches
16   and seizures and excessive or deadly force and to the extent it
17   asserts claims for violation of the right to be free from
18   interference with familial relationships based on the Fourth
19   Amendment.    The Court also GRANTS WITH PREJUDICE Defendants’
20   motion to dismiss the seventh cause of action.

21         The Court DENIES Defendants’ motion on all other grounds.

22         IT IS SO ORDERED.

23   Dated: October 17, 2014

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